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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA


  DAVID RUSSELL on behalf of himself and         Civil Action No.:
  others similarly situated,                     24-cv-2421-CEH-AAS

                              Plaintiff,         COLLECTIVE ACTION
                                                 AMENDED COMPLAINT
                     v.
                                                 JURY TRIAL DEMANDED
  CS CONTRACT SOLUTIONS, LLC d/b/a/
  CONEXA TECHNOLOGIES and DRIVE
  MANAGEMENT GROUP, CITIZENS
  TELECOM SERVICES COMPANY, LLC
  d/b/a FRONTIER COMMUNICATIONS,
  BENJAMIN SUNDERLAND, and KEITH
  CRISTOBAL, in their individual and
  professional capacities,

                              Defendants.


        Plaintiff David Russell (“Russell” or “Plaintiff”) on behalf of himself and

  others similarly situated, by and through his attorneys, Crabill PLLC, hereby allege

  as follows against Defendants CS Contract Solutions, LLC (“CS”) d/b/a Conexa

  Technologies (“Conexa”) and Drive Management Group (“DMG”), Citizens

  Telecom Services Company, LLC d/b/a Frontier Communications (“Frontier”),

  Benjamin Sunderland (“Sunderland”), and Keith Cristobal (“Cristobal”) (altogether,

  “Defendants”):
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                           PRELIMINARY STATEMENT

        1.     While they are focused on and boast about being acquired by Verizon

  Communications, Inc. in a 20-billion-dollar deal,1 Frontier is engaging in flagrant

  violations of the law that rob Technicians of their hard-earned wages.

        2.     Technicians are employees who perform installation, maintenance, and

  repair work that is critical to Frontier’s business of providing cable, telephone, and

  internet services to customers.

        3.     Frontier hires Technicians through companies such as Conexa and

  coordinates with Conexa and DMG to oversee, supervise, and manage Technicians

  who provide services to Frontier’s customers.

        4.     Together, Defendants supervise and control all aspects of their

  employment of Technicians.

        5.     For example, Defendants pay Technicians on a piece rate basis,

  meaning Defendants pay Technicians based on various rates they assign to specific

  jobs or services Technicians complete.

        6.     Although Technicians typically work approximately 65 hours per

  week, Defendants fail to pay Technicians overtime compensation for hours worked




        1
             See    https://investor.frontier.com/news/news-details/2024/Verizon-to-
  acquire-Frontier/default.aspx (last visited on January 22, 2025).

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  in excess of 40 hours in a workweek, instead paying them on piece rate basis without

  accounting for overtime compensation at all.

        7.     In addition to failing to pay Technicians their earned overtime wages,

  Defendants also move quickly to silence anyone who dares to challenge their

  unlawful wage practices.

        8.     On April 4, 2024, Russell, a former Technician for Defendants, called

  a supervisor and complained about Defendants’ refusal to provide him per diem pay

  he had earned pursuant to Defendants’ policy and practice of paying Technicians a

  flat rate of $130 when they are required to travel 50 or more miles to their first

  assigned jobsite.

        9.     In response, Russell’s supervisor reaffirmed that Defendants would not

  pay him the per diem pay he had earned.

        10.    Russell then told his supervisor that he intended to pursue legal action

  related to the per diem wages Defendants owed him.

        11.    The very next day, Defendants terminated Russell in a blatant act of

  retaliation against him for engaging in protected activities, including the complaint

  he made to his supervisor about Defendants’ wage violations.

        12.    Plaintiff brings claims under the Fair Labor Standards Act, 29 U.S.C.

  §§ 201, et seq. (“FLSA”) as a collective action pursuant to 29 U.S.C. § 216(b), on




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  behalf of himself and all other similarly situated employees comprising the proposed

  FLSA Collective (defined infra ¶ 128).

                             JURISDICTION AND VENUE

        13.    Pursuant to 28 U.S.C. § 1331, this Court has subject matter jurisdiction

  over this action because it involves federal questions regarding the deprivation of

  Plaintiff’s rights under the FLSA.

        14.    Pursuant to 28 U.S.C. § 1391, venue is proper because a substantial part

  of the events or omissions giving rise to this action, including the unlawful

  employment practices alleged herein, occurred in this District.

                                        PARTIES

  A.    Plaintiff David Russell

        15.    Russell is a resident of the State of Florida.

        16.    Russell was employed by Conexa from in or around 2020 through on

  or around April 5, 2024.

        17.    Russell was employed by Frontier from in or around February 2023

  through on or around April 5, 2024.

        18.    At all relevant times, Russell was an “employee” of Conexa, DMG, and

  Frontier within the meaning of all relevant statutes and regulations.




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  B.    Defendant CS Contract Solutions, LLC d/b/a Conexa Technologies and
        Drive Management Group

        19.    CS    is   a    domestic     business    corporation      that   provides

  telecommunications services including project-based staffing solutions for both

  outside and inside plant projects in Florida and across the country.

        20.    CS’s principal place of business is located at 165 S River Road, Suite

  C, Bedford, New Hampshire 03110.

        21.    Upon information and belief, on or around September 2, 2022, CS

  established an internal department under the trade name Drive Management Group

  which is dedicated to providing project and vendor management services

  telecommunications companies.

        22.    Around the same time, CS began providing project and vendor

  management services to telecommunications companies through DMG.

        23.    Upon information and belief, in or around 2023, CS rebranded and

  started conducting business under the trade name Conexa Technologies.

        24.    At all relevant times, Conexa controlled and directed the terms of

  employment and compensation of Russell and all persons similarly situated.

        25.    At all relevant times, Conexa established, implemented, disseminated,

  and controlled the employment policies applicable to Russell and all persons

  similarly situated, including, inter alia, policies concerning timekeeping, work

  allocation, task supervision, monitoring work product, and payroll.

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        26.    At all relevant times, Conexa maintained and exercised authority to

  hire, fire, discipline, and promote Russell and all persons similarly situated.

        27.    At all relevant times, Russell was an “employee” within the meaning of

  all relevant statutes and regulations.

  C.    Defendant Benjamin Sunderland

        28.    Sunderland is an owner of Conexa and a resident of Vermont.

        29.    At all relevant times, Sunderland controlled and directed the terms of

  employment and compensation of Russell and all persons similarly situated.

        30.    At all relevant times, Sunderland established, implemented,

  disseminated, and controlled the employment policies applicable to Russell and all

  persons similarly situated, including, inter alia, policies concerning timekeeping,

  work allocation, task supervision, monitoring work product, and payroll.

        31.    At all relevant times, Sunderland maintained and exercised authority to

  hire, fire, discipline, and promote Russell and all persons similarly situated.

        32.    At all relevant times, Sunderland was an “employer” within the

  meaning of all relevant statutes and regulations.

  D.    Defendant Keith Cristobal

        33.    Cristobal is an owner of Conexa and is a resident of New Hampshire.

        34.    At all relevant times, Cristobal controlled and directed the terms of

  employment and compensation of Russell and all persons similarly situated.



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        35.    At all relevant times, Cristobal established, implemented, disseminated,

  and controlled the employment policies applicable to Russell and all persons

  similarly situated, including, inter alia, policies concerning timekeeping, work

  allocation, task supervision, monitoring work product, and payroll.

        36.    At all relevant times, Cristobal maintained and exercised authority to

  hire, fire, discipline, and promote Russell and all persons similarly situated.

        37.    At all relevant times, Cristobal was an “employer” within the meaning

  of all relevant statutes and regulations.

  E.    Defendant Citizens Telecom Services Company, LLC d/b/a Frontier
        Communications

        38.    Frontier is a domestic telecommunications business corporation that

  regularly provides broadband, voice, and television services to residential and

  business customers in Florida and across the country.

        39.    Frontier’s principal place of business is located at 401 Merritt 7,

  Norwalk, Connecticut 06851.

        40.    At all relevant times, Frontier controlled and directed the terms of

  employment and compensation of Russell and all persons similarly situated.

        41.    At all relevant times, Frontier established, implemented, disseminated,

  and controlled the employment policies applicable to Russell and all persons

  similarly situated, including, inter alia, policies concerning timekeeping, work

  allocation, task supervision, monitoring work product, and payroll.

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        42.    At all relevant times, Frontier maintained and exercised authority to

  hire, fire, discipline, and promote Russell and all persons similarly situated.

        43.    At all relevant times, Frontier was an “employer” within the meaning

  of all relevant statutes and regulations.

                                          FACTS

  A.    Background

        44.    Frontier provides a range of telecommunications and technology

  services, including high-speed fiber internet, video, voice, and additional network

  solutions for residential, business, and wholesale customers in Florida and across the

  United States.

        45.    Frontier enters into agreements with companies who provide Frontier

  with Technicians who perform installation, maintenance, and repair work in

  connection with cable, telephone, and internet services provided to Frontier’s

  customers.

        46.    CS provides Technicians to telecommunications companies, enabling

  the telecommunications companies to deliver services to their customers.

        47.    In or around July 2022, Frontier and CS entered into an agreement for

  CS to provide Technicians to Frontier to perform services for their customers.




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        48.    As noted above, on or around September 2, 2022, CS began providing

  project and vendor management services under the trade name Drive Management

  Group.

        49.    Soon thereafter, DMG began overseeing, supervising, and managing all

  Technicians Frontier hired through companies such as CS and Gridsource, Inc.

        50.    Also, in 2022, CS rebranded and began doing business under the trade

  name Conexa Technologies.

        51.    Together, Defendants employ hundreds of Technicians at any given

  time who provide telecommunications and technology services to Frontier’s

  customers.

  B.    Joint Employment and Indicia of Control

        52.    Defendants function as a single integrated enterprise that together

  provide telecommunications and technology services to Frontier’s customers

  throughout Florida and across the country.

        53.    Defendants supervise and control all aspects of the employment of

  workers who perform installations, maintenance, repairs, and other work in

  connection with cable, telephone, and internet services provided to residential,

  commercial, and wholesale customers of Frontier.




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        54.   By way of example only, after Frontier hires a Technician through

  Conexa, Defendants determine the geographic region that the Technician will

  provide services to Frontier’s customers.

        55.   If a Technician wants to be transferred to a different geographic region,

  then the Technician must submit a transfer request to Conexa which has to be

  approved or denied by Defendants.

        56.   Also, Defendants require Technicians to follow certain polices and

  procedures related to their job duties which include, inter alia, running cables,

  setting up equipment such as modems, routers, optical network terminals, fiberoptic

  drops, and set-top boxes, and ensuring that all connections are properly configured.

        57.   Defendants set the work schedules for all Technicians, including the

  start and end time of each shift, as well as a myriad of other conditions of

  employment.

        58.   Defendants schedule Technicians to perform services for Frontier’s

  customers Mondays through Saturdays.

        59.   Defendants do not provide services by Technicians on Sundays.

        60.   Defendants mandate that Technicians regularly work at least five days

  per week.

        61.   During regular virtual meetings each Friday called “tailgate meetings,”

  Defendants provide Technicians with their work schedule for the following week.



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        62.    Defendants also provide Technicians with online accounts to access

  Frontier’s MTPN software.

        63.    Through MTPN accounts, Defendants provide Technicians with

  information about their daily assignments, including the addresses of the customers

  they have been assigned to and the services they are required to perform for those

  customers.

        64.    Defendants instruct Technicians to retrieve information about their

  daily assignments by logging into their MTPN accounts each morning they are

  assigned to work.

        65.    Defendants also use the MTPN accounts to track Technicians’ locations

  and the status of the work they perform for Frontier’s customers.

        66.    Indeed, Defendants require Technicians to indicate in their MTPN

  accounts when they are “en route” to a jobsite.

        67.    Each workday, Defendants require Technicians to be “en route” to their

  first assigned jobsites by 8:00 a.m.

        68.    If a Technician fails to begin his commute to his first assigned jobsite

  by 8:00 a.m., then an employee from Frontier or Conexa attempts to contact the

  Technician to determine why the he failed to start his commute on time.

        69.    Defendants can and do reprimand and fire Technicians who do not

  timely begin their commutes to their first assigned jobsites.



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        70.    After a Technician arrives at a jobsite and before he begins performing

  work for the customer associated with the jobsite, Defendants requires the

  Technician to record in his MTPN account that he has arrived at the jobsite.

        71.    When a Technician completes work he was assigned to provide to a

  customer, Defendants direct the Technician to record in his MTPN account that he

  finished the job.

        72.    Defendants also require Technicians to write notes in their MTPN

  accounts about any complications or issues that may have arisen during the work

  they performed for a customer.

        73.    Additionally, Defendants mandate that Technicians contact an

  employee of DMG to provide certain information about any complications or issues

  that arose during their work.

        74.    If a Technician arrives at a jobsite and the customer is unable to accept

  service, then Defendants require that the Technician record the job as “suspended”

  in his MTPN account.

        75.    After a Technician completes work for a customer or if a customer is

  not able to accept service at the time the Technician arrives at a jobsite, then

  Defendants direct the Technician to proceed to his next assigned jobsite.




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        76.    After a Technician completes his other daily assignments, Defendants

  require the Technician to return any “suspended” jobs to see if the customers

  associated with those jobsites are able to accept service.

        77.    If a customer at a suspended jobsite is still unable to accept service

  when the Technician returns, then Defendants reschedule the work for that customer

  to be complete on a different day.

        78.    Defendants also share resources, align their business strategies, and

  have intertwined management structures related to the supervision of work

  performed by Technicians.

        79.    For example, Conexa maintains training facilities in Battleboro,

  Vermont and Connecticut that provide training to Technicians on how to perform

  various tasks related to cable, telephone, and internet services provided to residential

  and commercial customers of Frontier.

        80.    Conexa also provides training to Technicians who perform services for

  Frontier’s customers during virtual meetings.

        81.    Additionally, Defendants require Technicians to travel to Frontier’s

  warehouses throughout Florida so that Frontier can provide them with equipment

  such as modems, routers, optical network terminals, fiberoptic drops, and set-top

  boxes they need to perform services for Frontier’s customers.




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        82.    Defendants maintain employment records for their employees,

  including timesheets, payroll reports, and wage statements.

        83.    Indeed, Defendants require Technicians to submit timesheets to their

  supervisors at Conexa.

        84.    After a Conexa supervisor signs off on the submitted timesheet, the

  timesheet is transferred to Conexa’s payroll department for a supplemental review.

        85.    Upon information and belief, if the payroll department approves the

  timesheet, then the timesheet is sent to Frontier for a final approval.

        86.    After a timesheet is finally approved by Frontier, then Conexa provides

  Technicians with a document called a Payroll Report which contains information

  about the amount of compensation to be paid to a Technician in connection with a

  specific pay period.

        87.    Further, upon information and belief, Conexa and DMG have access to

  Frontier’s MTPN software and have the ability to program the software so that jobs

  for Frontier’s customers are assigned to Technicians based on the Technicians’

  assigned location(s) and work experience.

  C.    Defendants Fail to Pay Technicians Their Earned Overtime Pay

        88.    Defendants pay Technicians on a piece rate basis, meaning Defendants

  pay Technicians based on various rates they assign to specific jobs or services

  Technicians complete.



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        89.   Typically, Technicians work five days per week for a total of

  approximately 65 hours.

        90.   However, Defendants have denied and continue to deny Russell and all

  other similarly situated employees overtime compensation for hours worked in

  excess of 40 hours in a workweek, instead paying them on piece rate basis, without

  accounting for overtime compensation at all.

  D.    Late Payment of Wages

        91.   Defendants have engaged in a consistent pattern and practice of failing

  to pay Russell and all other similarly situated employees all of their wages on or

  before their regularly scheduled paydays.

        92.   As stated above, Defendants have established a weekly pay period

  spanning from Sunday to Saturday for Technicians.

        93.   Defendants have also established every second Friday following each

  pay period as the regularly scheduled pay day for all Technicians.

        94.   Nevertheless, Defendants have routinely failed to pay Russell and all

  other similarly situated employees’ wages they earned in the preceding pay period

  on or before their regularly scheduled pay day.

        95.   As a result of Defendants’ late payment of wages, Russell and all other

  similarly situated employees have suffered concrete harm.




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        96.      Specifically, Russell and all other similarly situated employees have

  been, inter alia: (i) deprived of money to which they had a right, thereby costing

  them the time value of their money; (ii) deprived of the opportunity to invest their

  money; and/or (iii) unable to use their wages to pay bills and satisfy other financial

  obligations.

  E.    Plaintiff David Russell

        i.       Wage Violations

        97.      CS hired Russell as a Technician in or around 2020.

        98.      In February 2023, through CS, Frontier hired Russell to work as a

  Technician and provide services to its customers in the Saint Petersburg and

  Seminole, Florida area.

        99.      As a Technician for Frontier, Russell performed installation,

  maintenance, and repair work related to cable, telephone, and internet services

  Frontier provides to customers.

        100. Russell’s job duties working for Defendants included, inter alia,

  running cables, setting up equipment such as modems, routers, optical network

  terminals, fiberoptic drops, and set-top boxes, and ensuring that all connections are

  properly configured.




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        101. To complete jobs for customers, Defendants required Russell to travel

  to Frontier’s warehouses in Tampa, Florida at the beginning of each workweek so

  that Frontier could provide him with the above-referenced equipment.

        102. In connection with the work that Russell performed for Frontier’s

  customers, Defendants paid Russell on a piece rate basis.

        103. For example, in connection with work Russell performed for customers

  on April 4, 2023, Defendants paid Russell at a rate of $118 for each job he completed

  described as “FTTP – Install Fiber Service-Internet/Data Only,” at a rate of $0.54

  for each job he completed described as “FTTP – Install Fiber Service-Place UG Drop

  in Conduit/Subduct,” at a rate of $35 for each job he completed described as “FTTP

  – Fiber Installation HR,” and at a rate of $24 for each job he completed described at

  “FTTP – Fiber Trip Charge.” See Ex. A.

        104. However, Defendants never paid Russell overtime compensation for

  any hours worked in excess of 40 hours in a workweek.

        105. Instead, Defendants paid Russell on a piece rate basis without

  accounting for overtime compensation at all.

        106. On average, Russell worked approximately 65 hours per week.

        107. For example, for the workweek spanning April 2 to April 8, 2023,

  Russell worked approximately 65 hours.




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         108. In connection with the April 2 to April 8, 2023 pay period, Defendants

  paid Russell $3,821.50 in wages based on a piece-rate pay structure. See Ex. B.

         109. As a result, Russell’s regular rate of pay for the April 2 to April 8, 2023

  pay period was $58.79 ($3,821.50 piece-rate pay ÷ 65 hours).

         110. Since he worked approximately 25 overtime hours during the April 2

  to April 8, 2023 pay period, Russell earned overtime pay equal to $2,204.63 (25

  overtime hours x $88.19 per hour).

         111. However, Defendants did not account for overtime compensation in

  connection with the wages paid to Russell related to the April 2 to April 8, 2023 pay

  period. See id.

         112. Instead, Defendants paid Russell at his flat rate for all hours worked

  during the April 2 to April 8, 2023 pay period.

         113. As a result, Defendants paid Russell only $1,469.75 in connection with

  the 25 overtime hours he worked during the April 2 to April 8, 2023 pay period.

         ii.    Retaliation

         114. Defendants have a policy and practice of paying Technicians a per diem

  amount equal to $130 when Technicians are required to travel 50 or more miles to

  their first assigned jobsite.

         115. On March 27, 28, 29, and 30, 2024, Defendants required Russell to

  travel 50 or more miles to his first assigned jobsites for each of those days.



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        116. As a result, Russell submitted timesheets seeking payment of the $130

  per diem amounts for March 27, 28, 29, and 30, 2024 based on Defendants’ policies

  and practices. See Ex. C.

        117. On or around April 4, 2024, Amber Nemmers (“A. Nemmers”), a

  payroll employee for Conexa, sent Russell an instant message through Telegram

  Messenger and told Russell that Frontier was refusing to provide him with per diem

  travel wages he earned on March 27, 28, 29, and 30.

        118. Later that day, Russell called Ryan Nemmers (“R. Nemmers”), the

  Director of Operations at Conexa, and complained about Defendants’ refusal to pay

  him the per diem travel wages he earned on March 27, 28, 29, and 30.

        119. In response, R. Nemmers reiterated A. Nemmers’s assertion that

  Frontier was supposedly refusing to pay Russell his earned per diem travel wages

  and claimed that Conexa could not pay him the per diem amounts without Frontier

  sending them money to cover the wage payments.

        120. Additionally, in an apparent attempt to justify Defendants’ refusal to

  pay Russell his earned wages, R. Nemmers claimed that Frontier had recently

  conducted an audit of Conexa and discovered that Conexa was improperly approving

  the payment of per diem travel wages to Technicians working for Defendants in

  Connecticut even when Technicians were not commuting 50 or more miles to their

  first assigned jobsites.



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        121. As a result, R. Nemmers claimed that Conexa had to repay Frontier

  roughly $500,000 for Conexa’s supposed improper approval and payment of per

  diem travel wages to Technicians working in Connecticut.

        122. Russell responded by telling R. Nemmers that he intended to pursue

  legal action in connection with Defendants’ refusal to pay him his earned per diem

  travel wages.

        123. R. Nemmers responded to Russell, “I would love to see how that plays

  out” and the call between Russell and R. Nemmers ended immediately thereafter.

        124. Later that day, Russell memorialized what he and R. Nemmers

  discussed during their call in an instant message to R. Nemmers via Telegram

  Messenger.

        125. Over the next several days, Russell took off from work to attend to a

  medical emergency involving a family member.

        126. On April 12, 2024, in a blatant act of retaliation, R. Nemmers sent

  Russell a letter stating that Defendants had terminated his employment and that they

  had backdated the termination to April 5, 2024.

        127. Specifically, Nemmers stated, inter alia:

        It is with regret that we inform you that your employment with CS
        Contract Solutions will be terminated effective April 5, 2024. Your
        stipulation that you would only fulfil the needs of the business with
        compensation for mileage that was unwarranted does not align with our
        requirements. Furthermore, the threatening of legal action and



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        harassment of company executives is considered unbecoming and
        hostile behavior which is in violation of our company Code of Conduct.

                 FLSA COLLECTIVE ACTION ALLEGATIONS

        128. Plaintiffs bring his FLSA claims as a collective action on behalf of

  himself and all other similarly situated persons who have been employed by

  Defendants as Technicians at any time during the full statute of limitations period

  (the “FLSA Collective”).

        129. At all relevant times, Plaintiff and the FLSA Collective were similarly

  situated, had substantially similar job requirements, were paid in the same manner

  and under the same common policies, and were subject to Defendants’ policy and

  practice of: (i) failing to pay overtime wages at a rate of one and one-half times their

  regular rates of pay for all hours worked in excess of 40 hours in a workweek; and

  (ii) failing and refusing to timely pay all wages owed on or before their regularly

  scheduled paydays.

        130. At all relevant times, Defendants have been fully aware of the duties

  performed by Plaintiff and the FLSA Collective and that Plaintiff and the FLSA

  Collective are not exempt from the protections of the FLSA.

        131. Defendants’ violations of the FLSA have been willful, repeated,

  knowing, intentional, and without a good faith basis, and have significantly damaged

  Plaintiff and the FLSA Collective.




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          132. As a result of their unlawful conduct, Defendants are liable to Plaintiff

  and the FLSA Collective for the full amount of their unpaid and late wages, with

  interest, an additional equal amount as liquidated damages, and reasonable

  attorneys’ fees and costs incurred by Plaintiff and the FLSA Collective.

          133. While the exact number is unknown to Plaintiff at this time, upon

  information and belief, there are approximately 3,000 members of the FLSA

  Collective.

          134. Plaintiff is currently unaware of the identities of the individual

  members of the FLSA Collective.

          135. Accordingly, the Court should require Defendants to provide Plaintiff

  with a list of all members of the proposed FLSA Collective, along with their last

  known home addresses, telephone numbers, and email addresses, so that Plaintiff

  may provide the members of the FLSA Collective with notice of this action and an

  opportunity to make an informed decision regarding whether to participate in the

  same.

                        FIRST CAUSE OF ACTION
          VIOLATIONS OF THE FLSA: FAILURE TO PAY OVERTIME
                (On Behalf of Plaintiff and the FLSA Collective)

          136. Plaintiff, on behalf of himself and the FLSA Collective, hereby repeats

  and realleges the foregoing allegations as if set forth fully herein.




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        137. During the full statutory period, Plaintiff and the FLSA Collective were

  protected by the provisions of the FLSA, 29 U.S.C. §§ 201, et seq., and applicable

  regulations thereunder.

        138. The FLSA requires covered employers, including Defendants, to

  compensate employees at a rate not less than one and one-half times their regular

  rate of pay for all hours worked in excess of 40 hours in a workweek.

        139. Plaintiff and the FLSA Collective were not exempt from the

  requirement that their employers pay them overtime wages under the FLSA, and

  they are entitled to be paid overtime by Defendants for all hours worked in excess

  of 40 hours in a workweek during the full statute of limitations period.

        140. During the statute of limitations period, Defendants have engaged in a

  policy and practice of failing to compensate Plaintiff and the FLSA Collective at a

  rate not less than one and one-half times their regular rate of pay for all hours worked

  in excess of 40 hours in a workweek.

        141. As a result of Defendants’ failures to compensate Plaintiff and the

  FLSA Collective at a rate not less than one and one-half times their regular rate of

  pay for all hours worked in excess of 40 hours in a workweek, Defendants have

  violated the FLSA and/or applicable regulations thereunder.




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        142. Defendants have acted willfully and deliberately in maintaining an

  intentional practice of failing to compensate Plaintiff and the FLSA Collective in

  accordance with the FLSA.

        143. Defendants’ violations of the FLSA have significantly damaged

  Plaintiff and the FLSA Collective and entitle them to recover the total amount of

  their unpaid wages, an additional equal amount in liquidated damages, prejudgment

  interest, and attorneys’ fees and costs.

                     SECOND CAUSE OF ACTION
         VIOLATIONS OF THE FLSA: LATE PAYMENT OF WAGES
               (On Behalf of Plaintiff and the FLSA Collective)

        144. Plaintiff, on behalf of himself and the FLSA Collective, hereby repeats

  and realleges the foregoing allegations as if set forth fully herein.

        145. During the full statutory period, Plaintiff and the FLSA Collective were

  protected by the provisions of the FLSA, 29 U.S.C. §§ 201, et seq., and all applicable

  regulations thereunder.

        146. The FLSA requires covered employers, including Defendants, to pay

  employees all compensation earned in a particular workweek on the regularly

  scheduled pay day for the period in which such workweek ends.

        147. Plaintiff and the FLSA Collective were not exempt from the

  requirement that Defendants timely pay them their wages.




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        148. During the statute of limitations period, Defendants have engaged in a

  policy and practice of failing to pay Plaintiff and the FLSA Collective all

  compensation earned in a particular workweek on the regularly scheduled pay day

  for the period in which such workweek ends.

        149. As a result of Defendants’ failure to pay Plaintiff and the FLSA

  Collective all compensation earned in a particular workweek on the regularly

  scheduled pay day for the period in which such workweek ends, Defendants have

  violated the FLSA and/or applicable regulations thereunder.

        150. Defendants have acted willfully and deliberately in maintaining an

  intentional practice of failing to compensate Plaintiffs and the FLSA Collective in

  accordance with the FLSA.

        151. Defendants’ violations of the FLSA have significantly harmed Plaintiff

  and the FLSA Collective and entitle them to recover the total amount of their unpaid

  wages, an additional equal amount in liquidated damages, prejudgment interest, and

  attorneys’ fees and costs.

                           THIRD CAUSE OF ACTION
                 VIOLATIONS OF THE FLSA: RETALIATION
               (On Behalf of Plaintiff Individually against Defendants)

        152. Plaintiff hereby repeat and reallege the foregoing allegations as if set

  forth fully herein.




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        153. During the full statutory period, Plaintiff was protected by the

  provisions of the FLSA, 29 U.S.C §§ 201, et seq., and applicable regulations

  thereunder.

        154. As set forth above, Plaintiff complained to Defendants regarding their

  violations of the FLSA, including, inter alia, failing to pay Plaintiff all of his earned

  wages.

        155. Defendants retaliated against Plaintiff for his protected activities by,

  inter alia, terminating his employment.

        156. As a direct and proximate result of Defendants’ unlawful retaliatory

  conduct in violation of the FLSA, Plaintiff has suffered, and continues to suffer,

  monetary and/or economic harm for which he is entitled to an award of damages.

        157. Plaintiff is further entitled to an award of liquidated damages,

  prejudgment interest, and attorneys’ fees and costs.

                                PRAYER FOR RELIEF

        WHEREFORE, Plaintiff, on behalf of himself and the FLSA Collective,

  respectfully requests that this Court:

        A.      Declare that the practices complained of herein are unlawful under

  applicable federal law;

        B.      Grant an injunction and order permanently restraining Defendants from

  engaging in such unlawful conduct;



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         C.     Grant Plaintiff an award of damages, in an amount to be determined

  after a trial, to compensate him for all non-monetary and/or compensatory damages

  he has suffered, including, inter alia, compensation for his mental anguish,

  humiliation, embarrassment, stress and anxiety, emotional pain and suffering, and

  emotional distress;

         D.     Grant Plaintiff an award of damages, in an amount to be determined

  after a trial, for any and all other monetary and/or non-monetary losses he has

  suffered;

         E.     Grant Plaintiff an award of prejudgment interest on the damages they

  are awarded to the greatest extent permitted by law;

         F.     Grant Plaintiff an award of reasonable attorneys’ fees to the greatest

  extent permitted by law;

         G.     Declare this action to be maintainable as a collective action pursuant to

  29 U.S.C. § 216, and direct Defendants to provide Plaintiff with a list of all members

  of the FLSA Collective, including all last known addresses, telephone numbers, and

  e-mail addresses of each such person, so Plaintiff can give such persons notice of

  this action and an opportunity to make an informed decision about whether to

  participate in it;




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        H.     Equitably toll the statute of limitations for all members of the FLSA

  Collective from the date of this filing until they are provided notice of this instant

  action and opportunity to join the same;

        I.     Determine the damages sustained by Plaintiff and the FLSA Collective

  as a result of Defendants’ violations of the FLSA, and award those damages against

  Defendants and in favor of Plaintiff and the FLSA Collective plus such pre-judgment

  and post-judgment interest as may be allowed by law;

        J.     Award Plaintiff and the FLSA Collective an additional equal amount as

  liquidated damages because Defendants’ violations were without a good faith basis;

        K.     Award Plaintiff and the FLSA Collective their reasonable attorneys’

  fees and costs and disbursements in this action including, without limitation, any

  accountants’ or experts’ fees; and

        L.     Grant Plaintiff and the FLSA Collective such other and further relief

  that the Court deems just and proper.




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                            DEMAND FOR JURY TRIAL

        Plaintiff, on behalf of himself and the FLSA Collective, hereby demands a

  trial by jury on all issues of fact and damages.

  Dated: January 22, 2025                        CRABILL PLLC
         Lakewood Ranch, Florida

                                                 By:
                                                          Taylor J. Crabill

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                                                 Attorney for Plaintiff and the
                                                 proposed FLSA Collective and Lead
                                                 Counsel




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